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   CAROL A. SOBEL SBN 84483
 1 MONIQUE A. ALARCON SBN 311650
   725 Arizona Avenue, Suite 300
 2 Santa Monica, CA 90401
   t. 310.393.3055
 3 e. carolsobel@aol.com
   e.monique.alarcon8@gmail.com
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      Attorneys for Plaintiff Rex Schellenberg
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 7
 8                        UNITED STATES DISTRICT COURT
 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
      REX SCHELLENBERG, an individual            CASE NO.: 2:18-cv-07670-CAS-PLA
                                                 [Assigned to the Hon. Christina A.
12                              Plaintiff,       Snyder]
13      v.
                                                 ORDER RE:
14 THE CITY OF LOS ANGELES, a
   municipal entity, DOES 1-10,                  STIPULATED REQUEST TO
15                                               CONTINUE DATES TO COMPLETE
                                                 ADR AND EXCHANGE EXPERT
16                                               REPORTS
                               Defendant.
17
                                                 Date: January 13, 2020
18                                               Time: none
19                                               Ctrm: 8B
                                                 Judge: Hon. Christina A. Snyder
20
21                                               Action filed: Sept. 3, 2018
22                                               Status Conf: March 2, 2020
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                     ORDER RE: STIPULATED REQUEST TO CONTINUE ADR COMPLETION
                                    AND EXPERT REPORT EXCHANGE
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 1          The parties to the above-captioned action submitted a STIPULATED REQUEST
 2    TO CONTINUE ADR COMPLETION AND VACATE THE DATE FOR EXPERT
 3    REPORT EXCHANGES. Both events are currently set to occur on January 13, 2020.
 4          The parties informed the Court that they are engaged in settlement discussions and
 5    believe that they will reach agreement, avoiding the necessity to expend time to provide
 6    information on experts in anticipation of going to trial. The parties require additional
 7    time to complete settlement discussions.
 8          Accordingly, they request that the Court extend the time to complete ADR to and
 9    through February 28, 2020. The parties will be prepared to address the settlement at the
10    Status Conference now set for March 2, 2020.
11          IT IS SO ORDERED: the time to complete settlement is now set for February 28,
12    2020. If the parties are unable to reach settlement, the Court will set a new date for
13    exchange of expert reports at the presently scheduled March 2, 2020 Status Conference.
14
15    DATED: January 15, 2020
                                             HONORABLE CHRISTINA A. SNYDER
16                                           UNITED STATES DISTRICT JUDGE
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19
      Lodged by:
20
21    LAW OFFICE OF CAROL A. SOBEL
22
   By: /s/ Carol A. Sobel
23 CAROL A. SOBEL
24 Attorneys for Plaintiff SCHELLENBERG
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                                                 1 TO CONTINUE ADR COMPLETION
                      ORDER RE: STIPULATED REQUEST
                                     AND EXPERT REPORT EXCHANGE
